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                         EXHIBIT A
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                                                                          7                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                              THE REGENTS OF THE UNIVERSITY OF
                                                                              CALIFORNIA and JANET NAPOLITANO,
                               For the Northern District of California




                                                                         12   in her official capacity as President of the                  No. C 17-05211 WHA
                                                                         13   University of California,                                     No. C 17-05235 WHA
                                                                                                                                            No. C 17-05329 WHA
                                                                         14                  Plaintiffs,                                    No. C 17-05380 WHA
                                                                                                                                            No. C 17-05813 WHA
                                                                         15     v.

                                                                         16   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and KIRSTJEN                                RENEWED ORDER
                                                                         17   NIELSEN, in her official capacity as                          TO COMPLETE THE
                                                                              Secretary of the Department of Homeland                       ADMINISTRATIVE RECORD
                                                                         18   Security,

                                                                         19                  Defendants.
                                                                                                                         /
                                                                         20
                                                                         21                                         INTRODUCTION

                                                                         22          In these challenges to the government’s rescission of the Deferred Action for Childhood

                                                                         23   Arrivals program, this order narrows a prior order directing the government to complete the

                                                                         24   administrative record.

                                                                         25                                            STATEMENT

                                                                         26          The facts underlying these actions are discussed in more detail in prior orders (see, e.g.,

                                                                         27   Dkt. No. 234). In brief, these five lawsuits challenge the Acting Secretary of the Department of

                                                                         28   Homeland Security’s decision in September 2017 to terminate a deferred action policy known
                                                                              as Deferred Action for Childhood Arrivals.
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                                                                          1             Pursuant to their own stipulation, defendants filed an administrative record on October
                                                                          2   6, 2017, consisting of fourteen documents received by the Acting Secretary. These documents
                                                                          3   spanned 256 pages, all of which were already public. All other DACA materials actually
                                                                          4   received by the Acting Secretary were withheld based on “deliberative process” and other
                                                                          5   privileges. Plaintiffs immediately moved to require completion of the administrative record,
                                                                          6   seeking all materials considered “directly or indirectly” by the Acting Secretary in reaching her
                                                                          7   decision to rescind DACA. Plaintiffs’ motion was granted in part and denied in part on October
                                                                          8   17 (Dkt. Nos. 64, 65, 79).1
                                                                          9             The October 17 order directed defendants to complete the administrative record by
                                                                         10   adding to it all emails, letters, memoranda, notes, media items, opinions and other materials
                                                                         11   directly or indirectly considered in the final agency decision to rescind DACA, to the following
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                                                                         12   extent:
                                                                         13             1.     All materials actually seen or considered, however briefly, by the Acting
                                                                         14                    Secretary in connection with the potential or actual decision to rescind DACA;
                                                                         15             2.     All DACA-related materials considered by persons (anywhere in the
                                                                         16                    government) who thereafter provided the Acting Secretary with written advice or
                                                                         17                    input regarding the actual or potential rescission of DACA;
                                                                         18             3.     All DACA-related materials considered by persons (anywhere in the
                                                                         19                    government) who thereafter provided the Acting Secretary with verbal input
                                                                         20                    regarding the actual or potential rescission of DACA;
                                                                         21             4.     All comments and questions propounded by the Acting Secretary to advisors or
                                                                         22                    subordinates or others regarding the actual or potential rescission of DACA and
                                                                         23                    their responses; and
                                                                         24             5.     All materials directly or indirectly considered by former Secretary of DHS John
                                                                         25                    Kelly leading to his February 2017 memorandum not to rescind DACA.
                                                                         26             The October 17 order also addressed various privileges — overruling defendants’ claim
                                                                         27   of deliberative process privilege as to 35 documents and finding that defendants had waived the
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                                                                                         All docket numbers herein refer to the docket in Case No. 17-cv-05211-WHA.

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                                                                          1   attorney-client privilege as to any materials bearing on whether or not DACA was an unlawful
                                                                          2   exercise of DHS authority.
                                                                          3          Rather than submit a complete administrative record, defendants filed a petition for writ
                                                                          4   of mandamus with our court of appeals. Our court of appeals denied defendants’ petition (over
                                                                          5   one dissent). Defendants were again ordered to complete the administrative record (Dkt. Nos.
                                                                          6   86, 188, 197, 199).
                                                                          7          On December 1, defendants filed in the United States Supreme Court a petition for writ
                                                                          8   of mandamus and application for a stay, or, in the alternative, for writ of certiorari to our court
                                                                          9   of appeals. The Supreme Court did not reach the merits of defendants’ petition but required that
                                                                         10   their jurisdictional defenses be adjudicated prior to consideration of completing the
                                                                         11   administrative record (Dkt. Nos. 214, 224).
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                                                                         12          An order dated January 9, 2018, ruled on defendants’ threshold jurisdictional arguments
                                                                         13   and sustained jurisdiction, issues now before our court of appeals. The parties later submitted
                                                                         14   argument, at the Court’s invitation, as to whether some narrowing of the October 17 order was
                                                                         15   necessary or appropriate (Dkt. Nos. 234, 242, 243). This order follows.
                                                                         16                                              ANALYSIS
                                                                         17          1.      SCOPE OF THE ADMINISTRATIVE RECORD.
                                                                         18          The main question addressed in this order is the meaning of the term “the whole record”
                                                                         19   in the context of informal agency action. 5 U.S.C. § 706. This issue is important — not just to
                                                                         20   the instant dispute but to all informal agency decisions reviewable under the APA. Unlike
                                                                         21   formal agency adjudication and notice-and-comment rulemaking, informal agency action has no
                                                                         22   readily-defined record. In a rulemaking case, for example, the record is “comprised of
                                                                         23   comments received, hearings held, if any, and the basis and purpose statement,” among other
                                                                         24   things. Rodway v. U.S. Dep’t of Agric., 514 F.2d 809, 817 (D.C. Cir. 1975). And, the trial-type
                                                                         25   record in administrative adjudications consists of “[t]he transcript of testimony and exhibits,
                                                                         26   together with all papers and requests filed in the proceeding.” 5 U.S.C. § 556.
                                                                         27          The Supreme Court has never defined “the whole record” in the context of informal
                                                                         28   agency action, our instant setting. But our court of appeals has explained that the whole record


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                                                                          1   “is not necessarily those documents that the agency has compiled and submitted as ‘the’
                                                                          2   administrative record.” Thompson v. U.S. Dep’t of Labor, 885 F.2d 551, 555 (9th Cir. 1989).
                                                                          3   Rather, it “consists of all documents and materials directly or indirectly considered by agency
                                                                          4   decision-makers and includes evidence contrary to the agency’s position.” Ibid. The “whole
                                                                          5   record” accordingly includes documents that “literally pass[ed] before the eyes of the final
                                                                          6   agency decision maker” as well as those considered and relied upon by subordinates who
                                                                          7   provided recommendations to the decisionmaker. California ex rel. Lockyer v. U.S. Dep’t of
                                                                          8   Agriculture, Nos. 05-cv-3508 & 05-cv-4038, 2006 WL 708914, at *2 (N.D. Cal. Mar. 16, 2006)
                                                                          9   (Magistrate Judge Elizabeth Laporte) (internal citations and quotations omitted); see also Amfac
                                                                         10   Resorts, L.L.C. v. U.S. Dep’t of the Interior, 143 F. Supp. 2d 7, 12 (D.D.C. 2001) (Judge Royce
                                                                         11   Lamberth).
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                                                                         12          Although the administrative record submitted by defendants is entitled to a presumption
                                                                         13   of completeness, Bar MK Ranches v. Yuetter, 994 F.2d 735, 740 (10th Cir. 1993), this order
                                                                         14   again finds that plaintiffs have shown, by clear evidence, that the administrative record filed by
                                                                         15   defendants lacks documents that were considered, directly or indirectly, by the Acting Secretary
                                                                         16   in deciding to rescind DACA. Again, the submitted record consists only of fourteen documents
                                                                         17   comprising a mere 256 pages — all already public — nearly 200 pages of which consist of the
                                                                         18   Supreme Court, Fifth Circuit, and district court opinions in the DAPA litigation. Our own
                                                                         19   Ninth Circuit and the Second Circuit have both agreed that it strains credulity that defendants
                                                                         20   terminated DACA based solely on fourteen publicly available documents. See In re United
                                                                         21   States, 875 F.3d 1200, 1206 (9th Cir. 2017), judgment vacated on other grounds by In re United
                                                                         22   States, 138 S. Ct. 443 (2017); In Re: Kirstjen M. Nielsen, No. 17-3345 (2d. Cir. Dec. 27, 2017).
                                                                         23          But while completion of the administrative record is necessary, this order is mindful of
                                                                         24   the Supreme Court’s concern that defendants have raised “serious arguments that at least
                                                                         25   portions of the [October 17] order are overly broad.” In re United States, 138 S. Ct. at 445.
                                                                         26   After consideration of the parties’ supplemental submissions on this point, this order will
                                                                         27   narrow the October 17 order.
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                                                                          1            First, even defendants agree that non-privileged materials considered by the Acting
                                                                          2    Secretary in connection with the decision to rescind DACA should be included in the record.
                                                                          3    Defendants’ supplemental submission does not specifically address, however, whether the
                                                                          4    administrative record should include comments and questions propounded by the Acting
                                                                          5    Secretary to others (and their responses) regarding the rescission. This order restates that the
                                                                          6    first and fourth categories of materials outlined in the October 17 order should be included in
                                                                          7    the administrative record.
                                                                          8            Second, because reasoned agency decision-making “ordinarily demand[s] that [the
                                                                          9    agency] display awareness that it is changing position” and “show that there are good reasons
                                                                         10    for the new policy,” F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009), the
                                                                         11    October 17 order directed defendants to include in the administrative record all materials
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                                                                         12    directly or indirectly considered by Secretary Kelly that led to his earlier decision to continue
                                                                         13    the DACA program.
                                                                         14            Two events are relevant. In February 2017, Secretary Kelly issued guidance regarding
                                                                         15    the Trump Administration’s immigration enforcement priorities which — despite rescinding
                                                                         16    “all existing conflicting directives, memoranda, or field guidance regarding the enforcement of
                                                                         17    our immigration laws and priorities for removal” — explicitly left DACA in place. Then, in
                                                                         18    June 2017, Secretary Kelly rescinded the 2014 DAPA memo while again declaring that DACA
                                                                         19    would remain in effect. Materials considered by Secretary Kelly that led to his February and
                                                                         20    June 2017 decisions to continue DACA are pertinent here, and the inclusion of such documents
                                                                         21    in the administrative record remains required.2
                                                                         22            Third, the Acting Secretary surely received both written and verbal input from her
                                                                         23    subordinates regarding the decision to rescind DACA. Yet the record lacks even a single
                                                                         24    communication from any of the Acting Secretary’s subordinates. With respect to written input,
                                                                         25    the October 17 order sought to remedy this omission in two ways. One was to require inclusion
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                                                                                       2
                                                                                         While the October 17 order only required defendants to include materials directly or indirectly
                                                                         27   considered by Secretary Kelly leading to his February 2017 decision, upon further reflection, defendants should
                                                                              also be required to include materials directly or indirectly considered by Secretary Kelly leading to his June
                                                                         28   2017 decision.


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                                                                          1    of some materials sent to the Acting Secretary that were previously withheld under a claim of
                                                                          2    deliberate process privilege. The other was to require inclusion of all DACA-related materials
                                                                          3    considered by persons (anywhere in the government) who, after such consideration, provided
                                                                          4    the Acting Secretary with written input regarding the rescission of DACA. In other words,
                                                                          5    anyone providing written input to the Acting Secretary on the rescission was required to
                                                                          6    produce their DACA materials (up to the date of their input) on the premise that such materials
                                                                          7    had informed their input.3
                                                                          8                  Defendants argue that this category of materials should be narrowed so as to exclude
                                                                          9    any document originating from the White House, whether or not such documents are in the
                                                                         10    possession of DHS or another agency. For their part, plaintiffs suggest exempting from the
                                                                         11    administrative record any White House documents that never left the White House complex.
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                                                                         12    This order accepts plaintiffs’ narrower version.
                                                                         13                  Communications from the White House residing at DHS remain an important part of the
                                                                         14    administrative record (in part due to the White House’s emphasis of the President’s direct role
                                                                         15    in decisions concerning the program). Indeed, defendants concede that the Acting Secretary
                                                                         16    received advice from other members of the Executive Branch in making her decision and
                                                                         17    referred to “White House memorandum” in their privilege log (Dkt. No. 71-2). But to curtail
                                                                         18    any separation-of-powers concerns, defendants need not collect materials from White House
                                                                         19    personnel. The agency defendants need look no further than their own files. In all other
                                                                         20    respects, however, the second category of materials described in the October 17 order remains
                                                                         21    intact.
                                                                         22                  Fourth, with respect to verbal input to the Acting Secretary, to capture the factual
                                                                         23    information verbally conveyed and considered in connection with the decision to rescind
                                                                         24    DACA, the October 17 order similarly required inclusion of all DACA-related materials
                                                                         25    considered by persons (anywhere in the government) who thereafter provided the Acting
                                                                         26    Secretary with verbal input regarding the rescission. Defendants argue that the collection and
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                                                                                         3
                                                                                         Although the October 17 order overruled defendants’ privilege assertions with respect to some of the
                                                                         28   written inputs received by the Acting Secretary from her subordinates, these materials have not yet been
                                                                              included in the administrative record.

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                                                                          1    review of documents from custodians who provided only verbal advice is overly burdensome
                                                                          2    and disproportionate to the needs of the case. Plaintiffs, in turn, suggest that this requirement
                                                                          3    be narrowed to apply only to materials located within or reviewed by DHS or DOJ personnel
                                                                          4    rather than anywhere in the government.
                                                                          5             The appellate caselaw has never expressly considered how, if at all, verbal input to an
                                                                          6    agency decisionmaker should be reflected in the administrative record. Verbal input, of course,
                                                                          7    can be every bit as influential — perhaps more influential — in shaping informal agency
                                                                          8    decisions as written input. Yet despite government counsel’s acknowledgment that verbal input
                                                                          9    likely occurred (Dkt. No. 78 at 31:5), the thin administrative record supplied thus far omits even
                                                                         10    a clue as to the verbal advice received by the Acting Secretary on the question of the rescission
                                                                         11    of DACA.
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                                                                         12             Nevertheless, this order narrows the October 17 order in that defendants need only add
                                                                         13    to the administrative record documents of the Acting Secretary’s first-tier subordinates who
                                                                         14    provided verbal input regarding the rescission of DACA. Figuring out who gave verbal input
                                                                         15    will not be as hard as the government suggests. One method would be to ask the decisionmaker
                                                                         16    which first-tier subordinates provided verbal input and then include in the administrative record
                                                                         17    the relevant files and emails of such subordinates up to the date of their last input. Another
                                                                         18    would be to ask the first-tier subordinates if they gave verbal input and, if so, to include their
                                                                         19    DACA files and emails up to the date of their last input. Yet another method would be to
                                                                         20    review the emails of the Acting Secretary and first-tier subordinates for references to verbal
                                                                         21    input, such as references to a meeting on the subject or to follow up on a verbal
                                                                         22    recommendation. This order leaves it to government counsel to select the combination of
                                                                         23    methods best calculated to retrieve the relevant records. The government is not required to
                                                                         24    construct records that never existed but only to corral the records that plausibly informed the
                                                                         25    verbal input received by the Acting Secretary.4
                                                                         26
                                                                         27            4
                                                                                         The narrower administrative record set forth in this order more closely aligns with that required by
                                                                              Judge Nicholas Garaufis in the parallel DACA actions pending in the United States District Court for the
                                                                         28   Eastern District of New York. See Batalla Vidal v. Duke, No. 16-cv-4756, 2017 WL 4737280, at *5 (E.D.N.Y.
                                                                              Oct. 19, 2017).

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                                                                          1          In sum, defendants are directed to complete the administrative record by adding to it all
                                                                          2   emails, letters, memoranda, notes, media items, opinions and other materials directly or
                                                                          3   indirectly considered in the final agency decision to rescind DACA, to the following extent:
                                                                          4           1.       All materials actually seen or considered, however briefly, by the Acting
                                                                          5                    Secretary in connection with the potential or actual decision to rescind DACA;
                                                                          6           2.       All DACA-related materials considered by persons (anywhere in the
                                                                          7                    government) who thereafter provided the Acting Secretary with written advice or
                                                                          8                    input regarding the actual or potential rescission of DACA, with the exception
                                                                          9                    that White House documents that never left the White House complex need not
                                                                         10                    be included;
                                                                         11           3.       All DACA-related materials considered by the Acting Secretary’s first-tier
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                                                                         12                    subordinates within DHS who thereafter provided the Acting Secretary with
                                                                         13                    verbal input regarding the actual or potential rescission of DACA;
                                                                         14          4.        All comments and questions propounded by the Acting Secretary to advisors or
                                                                         15                    subordinates or others regarding the actual or potential rescission of DACA and
                                                                         16                    their responses; and
                                                                         17           5.       All materials directly or indirectly considered by former Secretary of DHS John
                                                                         18                    Kelly leading to his February and June 2017 decisions not to rescind DACA.
                                                                         19                                    *                *               *
                                                                         20          Because of the pendency of appellate review over the government’s threshold
                                                                         21   jurisdictional arguments, this order postpones the deadline for completion of the administrative
                                                                         22   record until FORTY-TWO CALENDAR DAYS after any final appellate ruling that the agency action
                                                                         23   is reviewable. If either side seeks Supreme Court review of the threshold jurisdictional
                                                                         24   questions, then any ruling by our court of appeals will become final only upon refusal of the
                                                                         25   Supreme Court to review it or upon a ruling by the Supreme Court itself that the agency action
                                                                         26   is reviewable.
                                                                         27
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                                                                          1          2.      PRIVILEGE.
                                                                          2                  A.      Waiver of Attorney-Client Privilege.
                                                                          3          The October 17 order held that defendants waived attorney-client privilege over any
                                                                          4   materials that bore on whether or not DACA was an unlawful exercise of executive power and
                                                                          5   therefore should be rescinded. This holding was based on the well-established principle that
                                                                          6   parties are not permitted to advance conclusions that favor their position in litigation and at the
                                                                          7   same time shield the information that led to those conclusions from discovery. See Chevron
                                                                          8   Corp. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992). Put differently, “[t]he privilege
                                                                          9   which protects attorney-client communications may not be used both as a sword and a shield.”
                                                                         10   Ibid. Where a party raises a claim, which in fairness to its adversary requires it to reveal the
                                                                         11   information or communication that claim is predicated upon, it has implicitly waived any
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                                                                         12   privilege over that communication.
                                                                         13          Here, DHS’s rationale for rescinding DACA was its purported illegality (see Dkt. No.
                                                                         14   64-1 at 253–56 (Rescission Memorandum)). And although defendants included the September
                                                                         15   4 legal opinion of the Attorney General in the administrative record, they sought to conceal all
                                                                         16   other legal analysis available to the Acting Secretary or the Attorney General. The October 17
                                                                         17   order thus determined that defendants could not simultaneously refuse to disclose the legal
                                                                         18   research that led to that conclusion.
                                                                         19          As explained in a later order dated January 9, however, the INA itself makes clear that
                                                                         20   once the Attorney General determined that DACA was illegal, the Acting Secretary had to
                                                                         21   accept his ruling as “controlling.” Section 1103(a)(1) of Title 8, a provision that allocates
                                                                         22   immigration power and duties among the Secretary of Homeland Security, the Secretary of
                                                                         23   State, and the Attorney General, provides that “determination and ruling by the Attorney
                                                                         24   General with respect to all questions of law shall be controlling.” Therefore, once the Attorney
                                                                         25   General advised the Acting Secretary that DACA was illegal, that determination became
                                                                         26   controlling and any legal analysis provided by others would be irrelevant. Put differently, the
                                                                         27   Acting Secretary did not “rely” on the advice of counsel and thus waive the privilege (as to all
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                                                                          1    other legal advice available to her). Instead, she became bound by the “controlling” Attorney
                                                                          2    General determination.
                                                                          3                On the other hand, the government has maintained that the basis of the rescission was
                                                                          4    not the legal determination that DACA was illegal but rather was a judgment call based on
                                                                          5    balancing litigation risk. Viewed in that light, the original waiver analysis would seem to
                                                                          6    remain valid, such that all legal advice on DACA’s legality made available to the Acting
                                                                          7    Secretary and/or the Attorney General would be includable in the administrative record.
                                                                          8                In light of this more nuanced analysis, this order finds it prudent to wait and decide the
                                                                          9    scope of defendants’ waiver of attorney-client privilege until Section 1103(a)(1)’s import is
                                                                         10    considered by our court of appeals in connection with the currently pending interlocutory
                                                                         11    appeal of the January 9 order. For the time being, no waiver of the attorney-client privilege will
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                                                                               be enforced (although any materials withheld on this ground must be logged).5
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                                                                         12
                                                                         13                       B.      Privilege Assertions.
                                                                         14                While defendants did not file a privilege log with their original production, they later,
                                                                         15    pursuant to order, filed a privilege log claiming attorney-client, deliberative process, and other
                                                                         16    privileges over 84 documents considered by the Acting Secretary (Dkt. Nos. 67, 71-2). The
                                                                         17    October 17 order overruled the privilege assertions as to 35 of the withheld documents
                                                                         18    (although so far none have been produced). The October 17 order further required that
                                                                         19    defendants maintain a privilege log for all future documents withheld on grounds of privilege.
                                                                         20    In their supplemental submission, defendants repeat their objection to providing a privilege log.
                                                                         21                To reiterate, our court of appeals has not spoken on this issue. Every court in this
                                                                         22    district to consider the issue, however, has required administrative agencies to provide a
                                                                         23    privilege log in withholding documents that otherwise belong in the administrative record. See,
                                                                         24    e.g., Ctr. for Food Safety v. Vilsack, No. 15-cv-01590, 2017 WL 1709318, at *5 (N.D. Cal. May
                                                                         25    3, 2017) (Magistrate Judge Kandis Westmore); Inst. for Fisheries Res. v. Burwell, No.
                                                                         26    16-cv-01574, 2017 WL 89003, at *1 (N.D. Cal. Jan. 10, 2017) (Judge Vince Chhabria);
                                                                         27
                                                                         28            5
                                                                                        Notably, the parties did not raise or address the impact of Section 1103(a)(1) in any of their briefing.
                                                                              Accordingly, it was not considered in connection with the October 17 order.

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                                                                          1   Lockyer, 2006 WL 708914, at *4. As a practical matter, if agencies were permitted to withhold
                                                                          2   materials from the administrative record on the basis of privilege, but were not required to
                                                                          3   submit a privilege log, their withholding based on privilege would never surface and would
                                                                          4   wholly evade review. This would invite all manner of mischief. Accordingly, this order holds
                                                                          5   once again that a privilege log is required. The privilege log shall comply with the
                                                                          6   supplemental order setting the initial case management conference in this case, and shall
                                                                          7   include all authors and recipients of privileged documents, as well as the other information set
                                                                          8   forth in that order (see Dkt. No. 23 ¶ 18).
                                                                          9            With respect to documents previously identified on defendants’ earlier privilege log, the
                                                                         10   Court has already ruled on each document following an in camera review. If, however,
                                                                         11   defendants wish to relitigate those rulings via a more thorough review than before (despite
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                                                                         12   defendants’ earlier request only for an in camera review), then the following procedures will
                                                                         13   apply. Within TWENTY-EIGHT CALENDAR DAYS of the finality of any appellate order
                                                                         14   sustaining reviewability of the rescission of DACA (as defined above), defendants may file a
                                                                         15   brief (on the public docket) presenting argument as to why the subject documents should remain
                                                                         16   withheld as privileged. Also at that time, defendants shall submit under seal declarations
                                                                         17   invoking and justifying the relevant privilege. These filings shall also be provided to plaintiffs,
                                                                         18   but may be redacted to the extent (but only to the extent) necessary to maintain the privilege
                                                                         19   asserted. Within FOURTEEN CALENDAR DAYS of defendants’ submission, plaintiffs may file a
                                                                         20   response. The Court will then review the materials and allow argument by defendants’ counsel
                                                                         21   at an ex parte hearing. Plaintiffs’ counsel shall standby outside the courtroom. Without
                                                                         22   revealing specifics of the withheld materials, the Court may invite plaintiffs’ counsel to make
                                                                         23   one or more cameo appearances to argue as appropriate. The foregoing deadlines pertain only
                                                                         24   to the 35 documents previously ordered to be added to the administrative record (should the
                                                                         25   government want to relitigate that ruling). Should plaintiffs wish to relitigate the privilege issue
                                                                         26   as to the documents for which the privilege was previously sustained, the same procedures shall
                                                                         27   apply.
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                                                                          1          With respect to the larger administrative record yet to be provided, if defendants redact
                                                                          2   or withhold any material based on deliberative process or any other privilege, they shall
                                                                          3   simultaneously lodge for the Court’s review full copies of all such materials, indicating by
                                                                          4   highlighting (or otherwise) the redactions and withholdings together with a privilege log for
                                                                          5   each. The parties shall follow the same procedures outlined above, and within TWENTY-EIGHT
                                                                          6   CALENDAR DAYS from      the date on which the privilege log and withheld documents are
                                                                          7   submitted, defendants shall submit their brief and supporting declarations. Within FOURTEEN
                                                                          8   CALENDAR DAYS     of defendants’ submission, plaintiffs may file a response. The Court will
                                                                          9   again allow ex parte argument by defendants’ counsel if requested and may invite argument
                                                                         10   from plaintiffs’ counsel to the extent appropriate.
                                                                         11          All privilege issues are hereby REFERRED to MAGISTRATE JUDGE SALLIE KIM to be
United States District Court
                               For the Northern District of California




                                                                         12   heard and determined in accordance with the above procedures.
                                                                         13                                            CONCLUSION
                                                                         14          Defendants shall file an amended administrative record in conformity with this order
                                                                         15   within FORTY-TWO CALENDAR DAYS of any final appellate ruling that the agency action
                                                                         16   terminating DACA is reviewable. Discovery remains stayed.
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                                                                         19                          CERTIFICATION UNDER 28 U.S.C. § 1292(b)
                                                                         20          The district court hereby certifies for interlocutory appeal the issues of whether: (1)
                                                                         21   inclusion of the above-referenced materials in the complete administrative record is necessary
                                                                         22   and appropriate; and (2) defendants should be required to provide a privilege log with respect to
                                                                         23   documents withheld from the administrative record on the basis of deliberate process or other
                                                                         24   privileges. This order finds that these are controlling questions of law as to which there is
                                                                         25   substantial ground for difference of opinion and that their resolution by the court of appeals will
                                                                         26   materially advance the litigation.
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                                                                          1          If a petition is submitted for interlocutory review and is granted, then this order shall be
                                                                          2   deemed stayed and defendants need not complete the administrative record until a final
                                                                          3   appellate order requiring them to do so.
                                                                          4
                                                                          5          IT IS SO ORDERED.
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                                                                          7   Dated: March 8, 2018.
                                                                                                                                        WILLIAM ALSUP
                                                                          8                                                             UNITED STATES DISTRICT JUDGE
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                                                                         11
United States District Court
                               For the Northern District of California




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